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April 8, 2021 -

To whom if may concern,

My name is Geeta Khater and Julian Khater is my brother-in-law. | have known Julian
for 14 years and have watched him grow into a wonderful man.

When | heard about the incident Julian was involved in, | was shocked and then
heartbroken. This could not be happening. Not once did | believe Julian could have
done the things he was being accused off.

Julian is one of four brothers and by far the sweetest and kindest. He is my son Jason's
Godfather and | know God chose him for a reason. He is always there when we need
him and has never missed a family event. When the kids see him coming they get so
excited!

| have also fived and worked with Julian and can attest to his amazing work ethic and
consideration for thosa around him. He has always had a positive outlook on any

probiem we deal with at work and always kept himself busy. When the days were long, .
he kept me laughing.

| am asking that you please take this letter into consideration when thinking of Julian
and understand that this is not something that is in Julian's nature.

Sincerely,
Geeta Khater

 

 
